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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


    DONALD AGEE, JR., an individual, et
    al.,
                                               Case No. 1:22-cv-00272
                 Plaintiffs,
                                               Three-Judge Panel Appointed
    v.                                         Pursuant to 28 U.S.C. § 2284(a)

    JOCELYN BENSON, in her official            ORAL ARGUMENT REQUESTED
    capacity as the Secretary of State of
    Michigan, et al.;

                 Defendants.


                                   INDEX OF EXHIBITS


   Exhibit                     Description


    A                          Pope v. Cnty. of Albany, No. 1:11-CV-0736, 2014 WL
                               316703 (N.D.N.Y. Jan. 28, 2014)

    B                          MICRC_4871-72

    C                          Dissenting Report by Commissioner Erin Wagner

    D                          Dissenting Report by Commissioner Rhonda Lange

    E                          Lessons Learned & Recommendations from the Inaugural
                               Commission – Communities of Interest

    F                          Memorandum to the Michigan Independent Citizens
                               Redistricting Commission from Stephen Markman,
                               Michigan Supreme Court Justice (retired) and Professor
                               of Constitutional Law, Hillsdale College

    G                          Mallory McMorrow For Michigan – Post-Primary
                               Statement
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    H                     Mallory McMorrow For Michigan – 2021 Annual Finance
                          Statement

    I                     Mallory McMorrow For Michigan – Itemized
                          Contributions

    J                     Signed Affidavit of LaMar Lemmons III, Dated June 16,
                          2023
